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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ALONZO LAMAR JOHNSON,                               )
                                                    )
                Plaintiff,                          )
                                                    )   Civil Action No. 2:19-cv-01129
        vs.                                         )
                                                    )   Judge Robert J. Colville
USA, et al.,                                        )
                                                    )   Magistrate Judge Patricia L. Dodge
                Defendants.                         )

                                      ORDER OF COURT

       On September 25, 2020, the Honorable Patricia L. Dodge issued a Report and

Recommendation (ECF No. 18) in which she recommended that this action be dismissed prior to

service of the Amended Complaint and without leave to amend as legally frivolous and/or for

failure to state a claim in accordance in accordance with 28 U.S.C. § 1915A and § 1915(e).

Plaintiff filed timely Objections (ECF No. 21) to Judge Dodge’s Report and Recommendation,

objecting to the Report and Recommendation on the grounds he seeks discovery to “prove his

innocence.”

       The district court must make a de novo determination of those portions of the report to

which objections are made. 28 U.S.C. § 636(b)(1)(C); see also Henderson v. Carlson, 812 F.2d

874, 877 (3d Cir.1987). This Court may accept, reject, or modify, in whole or in part, the findings

or recommendations made by the magistrate judge. The district court judge may also receive

further evidence or recommit the matter to the magistrate judge with instructions.

       Upon review of Judge Dodge’s September 25, 2020 Report and Recommendation,

Plaintiff’s Objections, as well as a review of the entire record in this matter, it is hereby ORDERED

as follows:
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        Plaintiff’s Objections to the Report and Recommendation are overruled and the Court

approves and adopts the Report and Recommendation in its entirety as the Opinion of the Court.

Plaintiff is not entitled to discovery so as to attempt to challenge the validity of his conviction, for

the same reasons stated in the Report and Recommendation.

        Plaintiff’s Amended Complaint is hereby DISMISSED WITHOUT LEAVE TO AMEND.

Said dismissal is WITHOUT PREJUDICE as to Plaintiff bringing a malicious prosecution claim

in the event his criminal case at 08-cr-374 is subsequently terminated in his favor. The Clerk of

Court shall mark this case as CLOSED.



                                                                        BY THE COURT:

                                                                        s/Robert J. Colville_______
                                                                        Robert J. Colville
                                                                        United States District Judge
DATED: October 22, 2020
CC/ECF: Honorable Patricia L. Dodge
ALONZO LAMAR JOHNSON
21857-039
FORT DIX
FEDERAL CORRECTIONAL INSTITUTION
P.O. BOX 2000
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